                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

JAMIE INGRAM,                                         )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )       Case No. 22-cv-00026-SRB
                                                      )
DICK’S SPORTING GOODS, INC.,                          )
                                                      )
               Defendant.                             )

                                             ORDER

       Before the Court is the parties’ Joint Stipulation of Remand. (Doc. #4.) The parties

agree that this case should be remanded back to the Circuit Court of Jackson County, Missouri.

Upon review, and for good cause shown, the Joint Stipulation of Remand is GRANTED. It is

hereby ORDERED that this case is remanded to the Circuit Court of Jackson County, Missouri,

for all further proceedings. The Clerk of the Court is directed to mail a certified copy of this

Order to the Clerk of the Circuit Court of Jackson County, Missouri.

       IT IS SO ORDERED.


                                                      /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH
                                                      UNITED STATES DISTRICT JUDGE
Dated: January 25, 2022




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